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                 Exhibit H
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From: Joe Oliveri <joe@clarelocke.com>
Subject: Re: Correspondence - Fridman et al v. Bean LLC et al
Date: May 13, 2021 at 11:28:27 AM EDT
To: Josh Levy <jal@levyfirestone.com>, Rachel Clattenburg
<rmc@levyfirestone.com>, Andrew Sharp <eas@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>, Libby Locke <libby@clarelocke.com>,
"Andy Phillips" <andy@clarelocke.com>

Hi Josh,

We can use this dial-in: (888) 444-3808, Passcode 90205#.

Also, I note for the record that, once again, in your email below
you did not address the issue of the back-channel outreach to
Plaintiff Khan (through his son-in-law) from Defendants’ former
counsel in this case—which we have raised with you numerous
times now. As Tom explained in his April 16 letter to you, the
attempt by Defendants’ counsel to communicate a settlement offer
to a family member of Mr. Khan raises significant concerns and
clearly violates the spirit, if not the letter, of D.C. Rule of
Professional Conduct 4.2.

We have asked you multiple times to:
  1. Please confirm that you were not aware of the effort to go
around Mr. Khan’s counsel and communicate with Mr. Khan and
that you did not authorize it—or confirm that you were aware of
that effort and/or did authorize it.
  2. Please explain how this effort came about, and who did
authorize it.
  3. Please confirm that there have not been—and that there will
not be—any similar clandestine attempts by counsel for
Defendants.

To date, you have ignored our requests to explain this issue and
confirm that it will not happen again. Please promptly provide this
information.
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Best,
Joe

Joseph R. Oliveri | Partner
CLARE LOCKE LLP
10 Prince Street | Alexandria, Virginia 22314
(202) 628-7405 - direct | (413) 657-6750 - cell
joe@clarelocke.com | www.clarelocke.com


From: Joshua Levy <jal@levyfirestone.com>
Date: Thursday, May 13, 2021 at 10:38 AM
To: Joe Oliveri <joe@clarelocke.com>, Rachel Clattenburg
<rmc@levyfirestone.com>, Andrew Sharp
<eas@levyfirestone.com>
Cc: Tom Clare <tom@clarelocke.com>, Libby Locke
<libby@clarelocke.com>, Andy Phillips
<andy@clarelocke.com>
Subject: Re: Correspondence - Fridman et al v. Bean LLC
et al

Joe --

Please circulate a dial-in for the 2pm call. My colleague
Andrew Sharp will be joining us.

As to the issues raised in our May 5 letter, it is our position
that Defendants have complied with the Protective Order,
and Plaintiffs have not. That said, we are willing to meet and
confer on a later date with regard to that issue. Likewise, we
will await Plaintiffs' production of a privilege log, which
Plaintiffs mentioned for the first time in their May 12 letter in
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response to Defendants' challenge of Plaintiffs' privilege
designations in their April 29, 2021 production. We can hold
a meet and confer on privilege after we receive Plaintiffs'
privilege log.

With regard to sanctions under Rule 37, we will move ahead
today with a 7(m) conference on sanctions for Defendants'
legal work moving to compel those documents, unless
Plaintiffs agree to pay Defendants' fees.

We have (repeatedly) addressed Plaintiffs' requests for
discovery, and all counsel for Defendants have acted
appropriately at all times. It is unproductive to have
Defendants repeat in every piece of correspondence that the
parties cannot take discovery until the Court establishes a
discovery period and deadline, in the absence of any.

Josh


Joshua A. Levy

Partner



Levy | Firestone | Muse

1701 K Street NW, Suite 350, Washington, DC 20006

T 202-261-6564 • C 202-360-0677 • F 202-595-8253 • levyfirestone.com



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